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                                                                                                                                                       August 2021


Terms and Conditions

1. Introduction

We have many things in the future for those who are involved in the Zoo movement! Thank you so much for visiting our terms and conditions and if you have any
questions feel free to reach out to us in our Telegram group or on Discord.


2. Definitions

"CryptoZoo" refers to both the original drop of 10,000 eggs (“egg drop”), future egg drops, the base NFT animals that result from users hatching the original eggs,
the hybrid NFT animals that result from users breeding 2 base NFT animals, and the ecosystem in which all of the NFTs may be bought, sold, exchanged, or
utilized.

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"First egg drop" when specifically mentioned, refers only to the initial distribution of 10,000 eggs scheduled to begin on September 1, 2021.

“CryptoZoo NFT” is defined as any individual art, design, photograph, 2D drawings or 3D models that may be associated with a CryptoZoo NFT that you own.

“Own” is defined as possession of a CryptoZoo NFT in your BSC wallet, Ethereum wallet, or other wallet (“crypto wallet”), where proof of such possession is
recorded on the blockchain.

"Image" is defined as individual PNG/GIF/JPEG and underlying files containing all proprietary CryptoZoo traits.

"Features" are defined as the distinguishing characteristics and proprietary individually layered art files associated with each CryptoZoo NFT. For example “head”
and “body” are features.


3. What We Own

The name and Intellectual Property involved in the CryptoZoo Project (“CryptoZoo”) is owned by our team. All rights that are not specifically granted to the users
and owners of CryptoZoo below are reserved by the team or potential future decentralized autonomous organization. This includes but is not limited to the
intellectual property rights surrounding the “CryptoZoo” names, logos, 3d layer files, trademarks, the website, the look and feel of the user interface, the smart
contract code, or anything else not specifically granted by any following licenses.


4. You Own Your CryptoZoo

By holding a CryptoZoo NFT in your crypto wallet, you gain full and complete ownership of your NFT as well as the opportunity to utilize this NFT in minting or
receiving subsequent opportunities available only to CryptoZoo holders.

All NFTs ownership is verified cryptographically on the Ethereum Blockchain. This is proof of ownership and grants rights within this document. Once the NFT
leaves ownership, all Personal and Commercial use terms are revoked.


5. Personal Use:

Subject to compliance with these terms, CryptoZoo grants you a royalty-free license to use, copy, display, and modify the CryptoZoo NFTs that you own for
CryptoZoo NFT Art. This usage is granted world-wide.

This usage is for the limited purposes of:
Personal and Non-Commercial Use
Display and usage of your NFT on External Websites
Ability to Buy, Sell, and Trade your NFT


6. Commercial and Derivative Rights

Use of the CryptoZoo NFT Licensed Materials must be in full and in their entirety. CryptoZoo expressly prohibits the use of any proprietary, individual traits or
crafted layers in any and all other projects. CryptoZoo also prohibits the sale or promotion of counterfeit NFTs or NFT collections. Counterfeit NFTs or collections
contain art that is identical to or substantially indistinguishable from the original CryptoZoo collection, including:

NFTs described as knock off, replica, imitation, clone, faux, fake, mirror image, or similar terms when referring to an NFT or NFT Collection in an attempt to pass
themselves off as genuine CryptoZoo creations.

Non-genuine products that mimic CryptoZoo features or proprietary traits in an attempt to pass themselves off as genuine CryptoZoo creations.

However, user shall not use any CryptoZoo Licensed Materials in any way, or in connection with any material, which is unlawful, fraudulent, libelous, defamatory,
obscene, pornographic, profane, threatening, abusive, hateful, offensive or otherwise objectionable or unreasonable or infringing upon any laws or regulations or
intellectual property rights or proprietary rights or confidentiality obligations and you shall indemnify and defend CryptoZoo against any claims, damages,
proceedings, loss or costs arising from such use. User shall not use the CryptoZoo Licensed Materials in any way that could be construed as being adverse or
derogatory to the image of CryptoZoo or any of its subjects.


7. Adjusting or Delisting CryptoZoo Assets

CryptoZoo NFTs may offer the ability to change the Name and Description on-chain in exchange for $ZOO token. These changes are then visible on CryptoZoo. In
the event that you change the name or description of any CryptoZoo to reflect pornography, hate speech, or other language that the community deems out of line it
may be hidden from our website and api or be changed as we reserve the right to protect the integrity of our project.


8. Future Projects

By holding a CryptoZoo NFT, you will have the opportunity to participate in a variety of future opportunities.


9. CryptoZoo are NOT Investment Vehicles

CryptoZoo are collectible digital art pieces that also function as fun, Non-Fungible Tokens for you to collect. They were created as art pieces intended for people to
enjoy by collecting, not as a financial instrument. CryptoZoo makes absolutely no promises or guarantees regarding the value of CryptoZoo NFTs aside from the
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one that we will strive to do the best for the project and the community.


10. Taxes

You are entirely and solely responsible for any tax liability which may arise from minting, selling or owning your CryptoZoo NFTs.


11. Children

The CryptoZoo project is not targeted towards children. You agree that you are over the age of 18, or above the legal age of your jurisdiction, whichever is greater.


These Terms are Subject to Change

We may revise these Terms from time to time, but the most current version will always be on CryptoZoo.co/terms. You are responsible for reviewing and becoming
familiar with any such modifications. Revisions deemed material, in the sole discretion of CryptoZoo, will include a notification via Twitter or Discord. By
continuing to access the CryptoZoo website and by holding a CryptoZoo NFT, you agree to be bound by the current Terms.




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